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                                                                               November 21, 2017

BY ECF
Hon. Richard M. Berman
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

                 Re: Arboleda et al v. Trans-Fast Remittance, LLC et al; Case No. 17-cv-4772

Dear Judge Berman:

      This firm represents Plaintiff in the above-referenced matter. I write, on consent of
Defendants, to request an adjournment sine die of the settlement conference scheduled for
Tuesday, November 28, 2017.

       The reason for the request is twofold: The parties have settled, and thus a conference is
unnecessary. Secondly, Plaintiff’s counsel has a scheduling conflict and will be unable to attend
the conference. As an additional note, the parties have submitted a Consent to Magistrate form
to Orders and Judgments, and anticipate submitting their agreement to the Magistrate Judge for
approval.

        Thank you for your attention.

                                                     Respectfully submitted,

                                                     /s/ Jesse Barton
                                                     Jesse Barton, Esq.
                                                     Michael Faillace & Associates, PC
                                                     60 East 42nd Street, Suite 4510
                                                     New York, NY 10165




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